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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DICTRICT OF ILLINOIS
EASTERN DIVISION

iN RE:
GEORGE ASIEDU } CASE No, 20-13842
} CHAPTER 13
}
)
)
Plaintiff }
)
v. ) JUDGE TIMOTHY A BARNES
)
Trustee: Marilyn O. Marshall
)
BANK OF AMERICA successor by ) Adversary Proceeding No: 2
MERGER TO BAC HOME LOANS LP dba )
COUNTRY WIDE HOME LOANS (defunct) }
D
PENNYMAC HOME LOAN SERVICING ) F cht COURT
TU ORTHERN HISTRICT OF ILLINOIS
VERIPRO SOLUTIONS )
sep 21 2020
FED LOAN SERVICING )
7 K
EADT, CLER
CITY OF CHICGO FINANCE FREY P. ALLST
CAPITAL ONE AUTO FINANCING )
Peoples Gas )
Associated in Sleep Medicine )

Defendants )
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COMPLAINT
1. Comes now Plaintiff, George Asiedu, and Pursuant Fed. Civ. Rule P. 3(a), F.C. R. P. 8(a} Fed. Civ.
R. 20, Pro Se on behalf of myself situated and re-filing this complaint against Defendants, to exercise his
“Privacy Rights” that the Defendants try to make and discredit. Mortgage Electronic Registration
Systems, Merscorp, Inc. the primary tink that joins the mortgagees; Bank of America successor by
Merger to BAC Home Loans, LP Dba Country Wide Home Loans; Penny Mac Loan Servicing; Marinosci

Law Group: Atlantic Motgage; Veripro Solutions; Fed Loan Servicing. City of Chicago Finance, Capital One
Auto Finance.

Preliminary Statement

1 This is a complaint for seeking financial damages of $5,000,000 and release of the Warranty
Deed to my House on 105 Stephens Street. Matteson illinois 60443 and discharge ability of
my Student Loan, Veripro Solutions, Capital One Auto Finance etc pursuant to Violation of
Gramm-Leach-Bliley Act U.S.C. $ 1601-6809 “Privacy Rights.” Mortgage Breach of Contact

18 U.S Code $1956. Obstruction of Justice (18 U.S.A $ 1501-1517

JURISDICTION

1. This Court has original jurisdiction pursuant to 28 U.S.C. § 1334(d){2) and 157. In the Plaintiffs
claim exceeds $75,000.00 exclusive of interest and cost

2. This Court has personal jurisdiction over the party because the Plaintiff submit to the jurisdiction
of the Court, Defendant regular engage in business in the State of lilinois, moreover the Defendant
systematically and continually do business throughout this State respectively.

VENUE

3, Is proper in this Court pursuant to 28 U.S.C. $ 1391 because a substantial part of the events and/or
omissions giving rise to the Plaintiffs claims arise in this action or occu rred in this District and
because Defendant is subject to personal jurisdiction in this District in that this action arises in and
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relates to the bankruptcy case, in re George Asiedu, Case No. 20-13842 filed on July 14, 2020 and
presently, pending before this court. This proceeding is a core proceeding under applicable law.

LEGAL STANDARD

4. Federal Rule of Civil Procedure 12{b)(1} provides that a case will be dismissed if the court lacks the
authority to hear and decide the dispute. Fed. R. Civ. P. 12(b}(1). If subject matter jurisdiction is
not evident from the face of the complaint, the court analyzes the motion to dismiss under Rule
12(b}(1} as any other motion to dismiss. United Phosphorous, Ltd. V. Angus Chem. Co., 332 F.3d
942,946,(7"" Cir. 2012). Where, as here, the complaint is formally sufficient but the contention is
that there is in fact no subject matter jurisdiction, the movant may use affidavits and other
materials to support the motion. ” Id. (emphasis in original); see also Long v. Shorebank Dev.
Corp., 182 F.3d 548, 554 (7" Cir. 1999).

5. The Defendants are company does business in Chicago county of Illinois

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower’s covenants and agreement under this
Security instrument and the Note. For this purpose, Borrower does hereby mortgage, grant and convey
to MERS (solely as nominee to Lender and Lender’s successors and assigns} and to the successors and

assigns of MERS, the following described property located in the COUNTY. This allows for another
“nominee;” one which could apparently coexist with MERS.

STATEMENT OF FACTS-ARGUMENT

52. Mortgage lenders, acting in coordination with one another, relaxed their standards for lending,
which made an entirely new class of lower-income individuals eligible to receive sub-prime loans. This,
in turn, drove up property “values”. As part of the scheme, banks and other lenders accepted”
Fraudulent appraisals “documenting” the new, higher values, and approved hundreds of thousands of
applications for financing which would normally have been declined. Unbeknownst to the borrowers
and the public, the billions of dollars spent to fund these loans extraordinary.

53. Beginning in or about 1999, the Defendant Firms joined with Defendant Merscorp

,Inc., and other

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conspirators in the fraudulent scheme and RICO enterprise herein complained. The Defendants Firms,
including many licensed attorneys, have become skilled in using the artifice of MERS to sabotage the
judicial process to the detriment of borrowers, and, over the past several years, have routinely relied
upon MERS to do just that. They are responsible for its actions the attorneys and other professionals
may not use corporate facades as shields against personal liability arising from the practice of their
professions.

54. Merscorp., is owned by many of the most significant stakeholders in the mortgage industry,
including mortgage originating and servicing companies {e.g., Bank of America N.A.., Wells Fargo, N.A.,
Citi Mortgage Inc., JP Morgan Chase, and ail other listed Defendants). Defendant Merscorp, Inc., claims
to be the sole shareholder in an entity by the name Mortgage Electronic Registration Systems, Inc..
(“MERS”). MERS is the RICO enterprise and is the primary innovation through which the conspirators,
including the Defendant have accomplished their illegal objective as detailed throughout this complaint.

55. Facially plausible RICO claim against George Asiedu pursuant to F.C.R.P 20(a)}(1)Plaintiff in this case

56. The plaintiff has a home loan with the Defendants. When Plaintiffs sit down at closing | assume
that | was getting a loan from the creator of the loan. Plaintiff never received any funding from or signs
any checks upon closing of the transaction. Plaintiff never even realized that he was confronted with a
notary until it was pointed out to years later. Prior to closing his faith was already in the hands of the
perpetrator. American International Group Inc., (AIG). Defendants who are AIG primary investors along
with MERS. To develop a RICO scheme to capitalize from the Plaintiff.

57. During the housing market meltdown, the entity “went public” at some time in the recent past
resulting in substantial profits to the Defendants. For years, Plaintiffs, have tirelessly fought this major
Wall Street kingpin to right the wrongs it committed against the Plaintiffs and hundreds of thousands of
homeowners and taxpayers who footed the $45 billion government bailout. Defendants took in, only to
have it used to propagate a scheme to squeeze every dollar from Defendants customers and wrongfully

foreclose thousands of homes in the process.”
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58. Those associated with MERS and longevity sufficient to permit the shareholders of MERS who
permit the shareholders which includes Bank of America N.A., Wells Fargo, N.A., Citi Mortgage Inc., JP
Morgan Chase, US Bank National Association, Bank New York Mellon N.A., HSBC Bank USA, N.A.,
Deutche Bank Bank National Trust Company, EMC Mortgage Corporation LLC, Green Tree Financial
Corporation aka Ditech Financial LLC, Suntrust Banks Inc., and Bear Stearns Companies. Defendant
Mersorp, Inc., to pursue the policy af MERS.

59. While it purports to function though one or more “subsidiaries,” they always use Vise President
names who are primary known as Robo signer by the larger lenders increasingly enable the Defendants
and other entities recently formed to take mortgages “from cradle to the grave.” Defendants’ exercise
broad discretion to manage and operate Its portion of MERS Corporation,

Robo-Signing/Forgeries--The 2010 United States foreclosure crisis, sometimes referred to

as Foreclosure-gate or Foreclosuregate refers to a widespread epidemic of improper foreclosures,
initiated by large banks and other lenders. The foreclosure crisis was extensively covered by news
outlets beginning in October 2010, and several large banks—including Bank of America, JP

Morgan, Wells Fargo, and City group—responded by halting their foreclosure proceedings temporarily in
some or all states. The foreclosure crisis caused significant investor fear in the U.S. A 2014 study

published in the American Journal of Public Health linked the foreclosure crisis to an increase in suicide
rates.

One out of every 248 households in the United States received a foreclosure notice in September 2012,
according to Reality Trac

60, Defendant Bank of America as well as all other Defendant who are joiner in this Complaint. Is a

foreign separate legal entity, according to www.mersinc.org, is a shareholder fn “MERS.” As a National

organization, Defendants joined together with MERS to conduct the affairs of MERS. To implement and
execute a scheme to fraudulently use Plaintiff personal information. It conducts substantial business in
the State of Illinois, and it is therefore appropriate that it be required to defend this suit in this Court.

61. MERS acting as nominee their position to appoint trustee after the initial 90-days of closing of all
Plaintiffs loans within that period to assign a pool number, rate and appoint trustee. Expanded to “prime

the pump.” The big institution and the conspirators were making an investment, but the expected
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return was NOT the interest they presented to anticipate receiving as borrowers paid the mortgages.
the lenders knew that the new loans were “bad paper;” the investors had no knowledge due to failure
to provide Plaintiff correct financial information to these non-parties investors.

62. This negligible by comparison. Part of the reason this fraudulent scheme has gone largely
unnoticed for such an extended period of time is that its sophistication is beyond the imagination of
average person. Similarly, beyond the imagination of persons is and was the scope of the DISHONESTY
of the lenders and those acting in furtherance of the scheme, including the present Defendants.

63. Through the present time, persons acting within the ambit of this conspiracy, most particularly
including the Defendants herein, have continued to operate consistent with the core principles of
dishonesty and obscurantism engendered by the original conspirators. The Defendant has created
through their unlawful Securitization financial. Accordingly, Plaintiff is entitled te an award exemplary
and punitive damages according to the proof COMMONALITY !!!!

Count 1- Violation of Gramm-Leach-Bailey Act 15 U.S.C $6801-6809- “Privacy Rights” Bank of America
N.A, successor by Merger to BAC Home Loans LP Dba Countrywide Home Loans.

Plaintiff re-alleges and incorporate paragraph 1-63

62. To determine whether a claim arises under Federal Law, the well-pleaded compiaint rule usually
governs. Sharp v. Wellmark, Inc., 744 F. Supp. 2d 1191, 1194 {D. Kan. 2010) It provides that federal
jurisdiction lies where plaintiff's well-pleaded complaint establishes either that federal law crates the
cause of action or that the plaintiff's right to relief necessarily depends on resolution of a substantial
question of Federal law.”

63. By engaging in a pattern of racketeering activity, specifically “mail or wire fraud.” The
Defendant subject to this Count participated in a criminal enterprise affecting interstate commerce. In
addition to the altered postmarks described below, the mail fraud is the sending of the fraudulent
assignments and pleadings to County Recorder of Deeds, clerk of courts, judges, attorneys, and
defendants in foreclosure cases, and investors.

64. These Defendant intentionally participated in a scheme to defend others, including the Plaintiffs
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and utilized the U.S. Mail to do so. After the closing of Plaintiff George E Asiedu, Whereas, Countrywide
Home Loan and BAC Home Loans; Penny Mac Servicing; became the servicer whereas, Bank of America
N.A. (BANA) were the beneficial and in most cases Weils Fargo Company became the Master Servicer.
During the period of 2003-2008
65. On March 13 I filed a Chapter 13 bankruptcy to relief myself from over burdened financial

overload. As a victimized homeowner | am filing this Adversary civil suit against the Defendant as Pro Se
litigant against Bank of America N.A., Penny Mack Loan Servicing, Veripro Solutions, Fed Loan Servicing,
City of Chicago within the United State District for the Northern District of Illinois as Case number 20-

13842 -and for the court to give us final order on Defendant and Plaintiff's final motions in the cout
room of Honorable Judge

66. Plaintiffs file the lawsuit claiming against BANA for violations of Plaintiffs “Privacy Rights” sharing
of Plaintiffs “Non-Public Personal Information.” and “Breach of Mortgage Contract.” After the closing of
Plaintiffs Loan, Defendant BANA aka Contrywide Home Loans successor and assigns to BAC Home Loans
which assigns to PennyMac Loan Servicing. BAC Home Loans the originators of the Plaintiffs Loan
allowed MERS who is the primary nominee on behaif of the named Defendant. To assign trustee to
securitize, rate, and pool these subprime loans together to sell the loans. Upon the selling of the loans
the investors must review the Plaintiffs personal financial background.

67. Plaintiff set forth the following: (1) that Bank of America-Penny Mac Loan Servicing, acting in
concert with others, deliberately engaged in a Collusive Trading Scheme, as defined in the Complaint,
effecting a series of transaction in the Fund; (2) these transactions were of sufficiently high volume to
indirectly cause the purchase or sales of securities traded on a national exchange by the Fund Manager
knowh “Master Service Agreement”; (3) this Collusion Trading Scheme created actual or apparent
trading. Which has been exploited by the Bloomberg Report?

68. This is HOW the Defendant betrayed the Borrower/Plaintiff by capitalizing off Plaintiffs Personal

information without Plaintiffs permission. Defendant also violated their own “Privacy Policy” which is
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governed under the Gramm-Leach-Bliley Act 15 U.S.C § 6809 (GLBA), Invasion of Privacy-142 which fall
under the Judicial Remedies and Penalties for Violating the Privacy Act 5 U.S.C. The Defendant will try to
deceive the Plaintiff rights under the GLBA to state that “it is the policy of Congress that each financial
institution has an affirmative and continuing obligation to respect the privacy of its customers and to
protect the security and confidentiality of those customers’ nonpublic personal information.” 15 U.S.C.
§6801(a}. Defendant BANA defended the Plaintiff's personal information “Chicago Title Land Trust
Company v. Bank of America 16-cv-02161” (Plaintiff also requests information relating to individual
borrowers, which implicates the borrowers personal financial information? BANA desires to maintain the
confidentiality of such documents and information through a protective order”)

69. The defendant BANA will intentionally contradict this statement whereas, in the above case
they are protecting the Plaintiffs on the other side they shamefully will deny Plaintiff his right to exercise
the (GLBA}. BANA will state within the case “ The internal policy documents sought to be protected from
disclosure contain information regarding BANA’s operations and processes. This information would
ordinarily not be made public because of its proprietary and competitive nature.” Wherefore, BANA may
use clever statement to confuse the case like, “The (GLBA) does not provide for private enforcement or
even hint at any private right of action.” These are merely vague thermology against the Plaintiff (me)
for exercising my PRIVACY RIGHTS.

70, Defendant will try to assert that only (“T)he duties under the GLBA are enforced by federal
regulators, state insurance authorities, and the Federal Trade Commission. Courts have consistently held
that there is no private right of action? Upon Plaintiffs closing agreement Plaintiff signed a Privacy Policy
claiming that BANA would protect Plaintiffs personal information also, within that disclosure it states
that Plaintiff will receive every 12 months an updated copy giving Plaintiffs the opportunity to opt-out of
the privacy disclosure never happens. THE FALL!!

There are many factors that have contributed to the dilemma | find myself in. It all began when | was

steered to purchase a home at the Estate of Brookmere housing community which was taunted to be
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the premier exclusive living extravaganza in this region of the south suburban housing complex. Just as |
was about to close the deal news began surfacing that the development was in serious financial
situation. Soon after the news broke the development filed chapter 11 bankruptcy protections. During
this same period | had just finished paying my down payment in full but my house was not build yet. |
stand to lose more than $17,006 | was sending in installment. After intense conversation and pleading
with the owners did the house finally took shape and was built albeit with inferior materials. it was the
last house build after which the development completely shot down for good. More than ten years
went by where nothing happened to the development. All the promises in the literature of a thriving
middie class neighborhood with goad schoois, playground, ravines, waterfalls, community center,
daycare, trees, swimming pools etc became just a dream.

The natural course of our existential being is devoid of homelessness. It speaks against it, It endowed
the very core of our humanity. A place to lay our head and raise our offspring is the very bases of our
fundamental right. itis our first human right for which everyone is entitled. No color, creed, sex, gender,

or nationality is excluded, No one can deprive ones right for freedom, liberty, and the pursuit of
happiness far which a home my home is key.

Foot Note: Enacted in 1999, The Gramm-Leach-Blifey Act (P.L. 106-102(Nov. £2 1999} requires companies that offer consumers financial
products to explain their information-sharing practices to their customers and to safeguard sensitive data. See http://www. ftc.gov/tips-

advice/businesscerier/privacy-and-security/g@ amer-ieach-bliley-act

COUNT II- Obstruction of Justice (18U.S.C.A $$ 1501-1517), which aim to protect the integrity of
federal judicial proceedings, Section 1503 is the primary vehicle for punishment those who obstruct or
who endeavor to obstruct federal judicial proceedings.

Plaintiff re-alleges and incorporated paragraph 62-70

71. On March 18, 2020 Plaintiff filed Chapter 13 Bankruptcy in 219 South Dearborn with Tom
Vaughn as the Trustee with Judge Jack Schmeterer presiding over case number 20-07800. It was at the
beginning of the pandemic and the Government of illinois issued an order for everyone to stay home. |

did not appear for the meeting of creditors which was conducted virtually. My case was dismissed for

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the reason of not appearing despite the pandemic. I filed a motion to ask the court to vacate the order.
After appearing on the next court hearing the case was still dismissed. My only option was to file a new
bankruptcy with a new case number 13-13842. Again my case was a day late in presenting my
documents to be included in the Meeting of Creditors on August 10, 2020 also conducted virtually. My
son was shot and killed and all the funeral arrangements caused me to miss the meeting of creditors by
one day. Trustee Marilyn Marshall filed a motion to dismiss during the coming hearing on the
September 24, 2020 with Judge Timothy A. Barnes presiding.

72. Bonham’s Case..., a conundrum (that) ought to have been laughed at.” Lacking the power of
judicial review, English courts possessed no means by which to declare statutes or actions invalid as
violation of due process . 635 (1940) enumerated the following “cardinal primary requirement” of due
process in administrative proceedings; (1) The right to a hearing, which includes the right to present
one’s case and submit evidence in support thereof; (2} The tribunal must consider the evidence
presented. Due process in administrative proceedings, Section 1, Article II| of 1987 provides that “(n)o
person shall be deprived of life liberty or property without due process of law, nor shall any person be
denied the equal protection of the law.” The first rights guaranteed in our Bill of Rights are the rights to
due process and equal protection of the law. The question posited is about procedural due process in
administrative proceedings. Procedural due process, as a distinguished from substantive due process, is
all about “procedural fairness.” As the great American statesman and Sen. Daniel Webster describe due
process, it is a law which hears before it condemns.” In the landmark case of Banco Espanol Filipino v.
Palanca, 31 Phil. 921, 934{1918) The Supreme Court enumerated the following essential requirements
of procedural fairness in judicial proceedings: (1) There must be a court or tribunal clothed with judicial
power to hear and determine the matter before it; (2) jurisdiction must be lawfully acquired over the
person of the defendant or over the property which is the subject of the proceedings; (3) The Defendant
must be given the opportunity to be heard; and (4) judgment must be rendered upon lawful hearing.

This case in all its form jacks transparency and Due Process.

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COUNT Ili- 18 U.S. Code $ 1956 (1) Laundering of monetary instrument per Mortgage
Breach of Contract

Plaintiff re-alleges and incorporated paragraphs 73-84
73. Defendants had significantly greater bargaining power than the Plaintiffs and that

difference in power caused Plaintiffs’ to sign the contract unknowingly signing over their
property to MERS there were no representatives from MERS or the alleged trustee. Mortgage
Contract do not state or claim that their mortgage would become a certified bond to sell and
trade on Wall Street. This is all part of “Breach of Contract.” Laundering of Monetary
instruments” Plaintiffs pleads sufficient facts with particular to support these allegations. To
participate in mortgage fraud, you must have others sources within the industry such as realtor,
appraisal, originating lender, and investors who are willing and able to assist in pe rpetrating the
wrongdoing existence of a scheme to defraud the Plaintiff(s).

TRANSFER OF RIGHTS IN THE PROPERTY

This Security secures to Lender: (1) the repayment of loan and all renewals, extensions, and modification
of the Note ; and (ii) the performance of Borrower's covenants and agreements under this Security
Instrument and the Note. For this purpose, Borrower does hereby mortgage grant and convey to MERS
{solely as nominee for the Lenders’ successors and assigns) and to the successors and assigns of MERS,
the following described property located in the COUNTY.

74. Violations in Truth and Lending--Failure to comply with Truth and Lending Act (TILA) 15 U.S.C.
1601, et seq which protects me against inaccurate and unfair credit billing and credit card practices. It
requires lenders to provide you with loan cost information so that you can comparison shop for certain
types of loans. The Truth and Lending Act of 1968 is a United States Federal Law designed to promote

the informed use of consumer credit, by requiring disclosures about its terms and cost to standardize
the manner in which costs associated with borrowing are calculated and disclosed.

Predatory Lending Violation (TILA}
Predatory Loan where Mechanics and Contractors all claims liens on my property which has clouded the

title to my property. These contractors were never paid because the developer filed for bankruptcy and

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therefore all those claimants cannot maintain a lien on my property. Unfair, deceptive or negligent
iending practices, often referred to as “predatory lending,” have caused many families to lose their
homes. When faced with a mortgage a borrower is unable to pay, the result is often foreclosure of the
borrower’s home. This situation affects not only the owner of the foreclosed property, but the entire

community as well. Neighborhoods fall into disrepair and home values decrease as properties are
abandoned.

75. These are some of the practices | was subjected

Inadequate False Pricing — - Hides and misrepresent the true cost, risk and appropriation of loan terms.
Risk Base Pricing -charging high interest than necessary which resulted in my default

Inflated Fees and Charges —-Fees and cost were much higher and were hidden in fine print
(origination fee, appraisals, closing cost, and document preparation fee}

Loan Flipping — Lender encourage me to refinance into a larger loan with higher interest and additional
fees which fed inte my default.

Asset Based Lending —was encouraged to borrow more than | could afford and then offered a refinance
based on home equity rather than my income and ability to pay.
Abnormal repayment penalty

Violations of Illinois Interest Act - 815 ILCS 205/0.01} (from chapter 17, par. 6400) Sec. 0.01. Short title.
This Act may be cites as Interest Act (Source: P.A 86-1324.)
815 ILCS 205/1} (from Ch. 17, par. 6401 Sec, 1 The rate of Interest upon the loan or forbearance of any

money, goods or thing in action shail be five doliars ($5) upon one hundred dollars ($100} for one year,

and after that rate for a greater or less sum, or for a longer or shorter time, except as herein provided.
(Source: law 1891, p. 149)

Undue Hardship - Undue hardship due to overbearing financial difficulties.

Economic Duress-in contract law a defense that can be used by a party to argue against the formation of
a binding contract between two parties. To prove economic duress, a party must show that (1) a
continuous contract exists between the plaintiff and the defendant; (2) the defendant threatens to

terminate the preexisting contract; and (3) the plaintiff under this duress accepts the defendant’s terms
and enters the contract.

Trover Defense- | file this Trover defense for unlawful and wrongfully taking of my personal property. So
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| challenge the validity of the debt and the Lender in this case Penny Mac and Veripro Solutions must
prove they own the title to my property. Trover, C; 4 Rawle,R, 185. One who has a special property,

which consists of in the lawful custody of goods with a right of detention against the general owner may
maintain trover. Story. Bailm. 93 n

Brunner-| am under undue hardship now and in the near future to repay my student loan debt and still
maintain minimal standard of living. Under the Bankruptcy Abuse Prevention and Consumer Protection

ACT (BAPCPA) the student loan exception to discharge expanded to cover almost any debt incurred as
an education expenses.

REMIC- Real Estate Mortgage Investment Conduit- a complex pull of mortgage securities created to
acquire investment income for its creators and investors. They consist of a fixed pool of mortgages
broken apart into tranches, repacked and marketed to investors as individual securities. My Deed of

Trust and Promissory note should never be broken apart. It was not transparent to me when | signed the
promissory note- It was a fraud.

Auctioning of My FICA- The auctioning of my credit report for people to bid on itis illegal.
Violation of the Illinois Consumer Fraud Act, 815 ILCS 505/L

815 ILCS 505/1) (from Ch.121 1/2, par. 261)

Sec. 1(f) The terms "trade" and "commerce" mean the advertising, offering for sale, sale, or distribution of any
services and any property, tangible or intangible, real, personal or mixed, and any other article, commodity, or
thing of value wherever situated, and shall include any trade or commerce directly or indirectly affecting the
peopie of this State.

5. Violations of Equal Credit Opportunity ACT, 15 U.S.C 1691
Each creditor shall furnish to an applicant a copy of any and all written appraisals and
valuations developed in connection with the applicants’ application for a loan that is secured or would
have been secured by a first lien on a dwelling promptly upon completion, but in no case later than 3
days prior to the closing of the loan, whether the creditor grants or denies the applicant’s request
for credit or the application is incomplete or withdrawn.

76. Violation of the Illinois Consumer Fraud Act, 815 ILCS 505/L

815 ILCS 505/12) (from Ch.121 1/2, par. 261)
Sec, 1 (f) The terms “trade” and "commerce" mean the advertising, offering for sale, sale, or distribution of any
services and any property, tangible or intangible, reai, persona! or mixed, and any other article, commodity, or
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thing of value wherever situated, and shall include any trade or commerce directly or indirectly affecting the
people of this State,

5, Violations of Equal Credit Opportunity ACT, 15 U.S.C 1691

Each creditor shall furnish to an applicant a copy of any and ail written appraisals and

valuations developed in connection with the applicants’ application for a loan that is secured or would
have been secured by a first lien on a dwelling promptly upon completion, but in no case later than 3
days prior to the closing of the loan, whether the creditor grants or denies the applicant’s request

for credit or the application is incomplete or withdrawn.

77. WASHINGTON (MarketWatch) — Federal regulators on Thursday detailed a $9.3 billion
settlement with 13 banks over foreclosure abuses stemming from the so-called robo-signing scandal, a
deal that government officials say is expected to help more than 3.8 million borrowers.

The settlement with ten of the banks was first announced on Jan. 7 and separate settlements with

HSBC US:HBC and two other banks came later in the month.
At issue are deficient practices on mortgage servicing and processing, improper fees, wrongful denial of

modification, and the robo-signing scandal — the practice of assigning bank employees to rapidly

approve numerous foreclosures with only cursory glances at the glut of paperwork to determine if all
the documents are in order,

Abuses stemming from the so-called robo-signing scandal, a deal that government officials say is
expected to help more than 3.8 million borrowers.

At issue are deficient practices on mortgage servicing and processing, improper fees, wrongful denial of
modification, and the robo-signing scandal — the practice of assigning bank employees to rapidly

approve numerous foreclasures with only cursory glances at the glut of paperwork to determine if all
the documents are in order,

Lender Breach of Contract-The lender which is the second refinance company Atlantic Mortgage did not

properly follow up on their promise to slash my mortgage payment down to where ! could afford. When
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the refinance was eventually concluded my mortgage payment skyrocketed and could not make the

monthly payment.

Securitization Defects- Securitization is a financial process that takes an asset of some kind and turns it
into a security, which is a tradable financial asset. The assets that provide the basis for securitization are
fundamentally those that generate receivables, essentially debt owed to a company by its debtors and
customers. Receivables comprise capital and periodic interest. Assets generally used for securitization

include loans (student loans, car loans, credit card loans etc.) and mortgages.

Statute of Limitation-In Illinois, the Statute of Limitations on debt ranges from 5 years to 10 years. Some
debt collection agencies buy old debts, out the Statute of Limitation period for pennies on the dollar

from the original creditor in order to collect what they can.
78. invoking the act of Subrogation
Accordingly, so far as is relevant to this case, the remedy of equitable subrogation is a restitution

remedy available to reverse what would otherwise been unjust enrichment of a claimant at the expense

of the defendant.

Case in Point
A 1969 Minnesota court case, My Daily explained that the money borrowed for his mortgage was in fact

not the property of the bank. it was created out of thin air as soon the loan agreement was signed, The
bank accepted the Promissory Note in exchange for credit. The bank reserve was unchanged by the loan
transaction. The deposit credit created another addition of ten times the amount of the loan adding to
their money supply. A lawful consideration must be present, tendered and supported for the notes. The
bank never had the money as consideration. It is an illegitimate form of consideration and hence voids
the contract to repay. The bank never had the money as property to begin with. It was my signature the
promissory note that manifested all the transaction.

RICO also permits a private individual “damaged in his business or property" by a "racketeer" to file

a civil suit. The plaintiff must prove the existence of an “enterprise”. The defendant(s} are not the
enterprise; in other words, the defendant(s} and the enterprise are not one and the same. There must
be one of four specified relationships between the defendant(s) and the enterprise: either the

defendant(s) invested the proceeds of the pattern of racketeering activity into the enterprise (18 U.S.C.
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§ 1962(a)}; or the defendant(s} acquired or maintained an interest in, or control of, the enterprise
through the pattern of racketeering activity (subsection {b)}; or the defendant(s) conducted or
participated in the affairs of the enterprise "through" the pattern of racketeering activity (subsection
{c}}; or the defendant(s) conspired to do one of the above (subsection (d}). In essence, the enterprise is
either the ‘prize,’ instrument," ‘victim,’ or ‘perpetrator’ of the racketeers. A civil RICO action can be filed
in state or federal court. Under RICO, a person who has committed “at least two acts of racketeering
activity" drawn from a list of 35 crimes—-27 federal crimes and 8 state crimes—within a 10-year period
can be charged with racketeering if such acts are related in one of four specified ways to an
“enterprise”. Those found guilty of racketeering can be fined up to $25,000 and sentenced to 20 years
in prison per racketeering count. In addition, the racketeer must forfeit all ill-gotten gains and interest in
any business gained through a pattern of "racketeering activity.“ Both the criminal and civil components
allow the recovery of treble darmages (damages in triple the amount of actual/compensatory damages).
79. How can the borrower simultaneously “convey” the property to: (LJMERS as nominee for

lender (2) MERS as nominee for lenders’ successors and signs; and (3) MERS’ sown successor and
assigns?

Furthermore, who are such successors and assigns? No assignment could have existed as of the
moment, the borrowers executed the mortgage, and if somehow same exist, it should have been
disclosed as a fundamental and material aspect of the transaction. if the assignment occurred prior to
the mortgage, the mortgage itself is vaid because the lender had no interest ta secure. Beginning soon

after the “ink” on the new mortgage were “dry,” the lenders promptly sold the loans, in secretive
transactions, to “investors”.

80. Most courts will hald sophisticated parties, whether owners, contractors, or design
professionals, to a higher standard of expected knowledge and ability to protect themselves. See, e.g
C&J Vantage Leasing Co. v.

Wolfe, 795 N.W.2d 65 (lowa 2011). The language of this instruction is based
primarily on the discussions in Sanford, 813 N.E. 2d at 411 at 411, and C&J Vantage Leasing, 795 N.W.3d
at 65. Low-income, African-American as well as Hispanic borrowers were targeted from the beginning,
never had equal opportunity to negotiate the deal possible like their White counterparts. The
defendant's burden of proving by a preponderance of the evidence. You must consider whether plaintiff
acted reasonably based on Plaintiffs’ situation and opportunities at the time it became aware of a
breach.

81, Upon declaration the facts associated under “RICO” Monetary damages and punitive damages

exceed “$1,000,000 because | have shown commonalities associated with the defendants.
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82, DEFECTIVE MORTGAGE LOANS which lacks Endorsement amended to a title insurance policy
the generally modifies existing coverage or adds special coverage to the policy, Marketable Title Real
Property that is free from doubts and enables the owner to hold the real property in peace, free from
the hazard of litigation or adverse claim. Title Insurance contract to indemnify the insured against loss
through defects in the title to real property. Owner's Policy of title insurance that insures an owner's
title to real property. Pending Disbursement Clause found in the construction loan title insurance policy
that provides that the insurance coverage under the policy will be in the amount of the loan as itis
disbursed to the borrower up to and not to exceed the face amount of the policy. Title Insurance
Commitment or contract by title insurance to issue a title insurance policy. The risk covered by title
insurance. The covered risk are (1) insurance that title to the estate or interest described in Schedule A
is vested in the insured; (2) insurance against any defect, Lien(s), or encumbrance on such title; (3)

Insurance that the title is a marketable title; and (4) insurance that the property has access to a public
road.

All these defects are found present on my mortgage(s) from day ONE.

Seller failure disclose deficiency--Seller did not disclose all conditions and defects that could affect the

value of the purchased property. The seller did not fulfill this legal obligation like material defects due to
the rush state that the building was constructed. This constituted nondisclosure case and was misted by

the construction Company. It has led to constant flooding, water leakage, leaky roof, plumbing
problems and electrical deficiency.

BANK OF AMERICA. BANK OF AMERICA HOME LOAN, PENNEY MAC HOME LOAN SERVICING

Plaintiff re-alleges and incorporated paragraphs 52-82. Incorporated statements of facts above
Defendant Bank of America. Bank of America Home Loans, Penny Mac Loan Servicing violated Plaintiff
George Asiedu of how his information was abused by Trans Union, Equifax and Experian and was sald to

entities stated below who was involved in the misuse of my name beginning with the Credit Reporting
Companies above.

VERIPRO SOLUTIONS
Plaintiff re-alleges and incorporated paragraphs 52-82. Incorporated statement of facts above of how
my name was abused, misused and facts associated mishandled by Defendant.

FED LOAN SERVICING
Plaintiff re-alleges that Fed Loan Servicing also misused and abused my name through Credit Reporting

Agencies mentioned above.

CITY OF CHICAGO. Plaintiff re-alleges same as indicated and incorporated in paragraphs-52-82 above
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WHEREFORE, plaintiff prays that the Court,

a. Would award the plaintiff financial damages of $5,000,000.00 in damages for FRAUD
b. Release the warranty deed for my house on 105 Stephens Street Matteson IL 60443
c. Discharge moneys owed to Veripro Solution because they are debt collectors whose
claims are invalid according law

Capital One Auto Financing for undue hardship and economic duress

City of Chicago Finance for Undue Hardship

Peoples GAS for undue Hardship

Associated in sleep Medicine for undue Hardship

Discharge Student loan due to “Privacy Rights.”

+m + @ 2

Pursuant to Violation of Gramm-Leach-Bliley Act U.S.C. $ 1601-6809 “Privacy Rights.”
Mortgage Breach of Contact 18 U.S Code $1956,

Obstruction of Justice (18 U.S.A S$ 1501-1517

Grant such order, further, and different relief as may be just and proper.

Respectfully Submitted,

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| .

GEORGE ASIEDU Pro Se
105 Stephens St

Matteson IL 60443

708-663-3614

Asiedu488@gmail.com
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B1040 (FORM 1040) (12/15)

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ADVERSARY PROCEEDING COVER SHEET ADVERSARY PROCEEDING NUMBER

(Instructions on Reverse)

(Court Use Only)

PLAINTIFFS

GeorGe Asiepu

DEFENDANTS BOA, BAC Hone Loan ~Reany Mae

Loin Serv, Veripre Sojuhens, fed Loqa Seru.
Crhy of Chicago Fin., Capital One Auto pia,
Peoples Gas, Assotiatect in Sieep Medicine.

ATTORNEYS (Firm anes Address, and Telephone No.)
Pro Se Litiqar .
Givorae Asi , 105 Swphens $7 Matteson th

ATTORNEYS (If Known)

i>
UNITED STATES BANKRUPTCY COURT
NORTHERN OSTRICT OF ILLINOIS

FOUN 108-663-3614
PARTY (Check One Box Only)
We Debtor 0 U.S. Trustee/Bankruptey Admin
a Creditor o Other
Oo Trustee

PARTY (Check One Box Only) SEP 2 | Ap2e

Debtor O U.S. Trustee/Ba
a Creditor 0 Other .
4 Trustee JEFFREY P. ALLSTEADT, CLERK

oa pete ee te
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

\ioLat iby of Gramm -Leach-Bliley Act U.

BC BI6Ol- 6969 “Privacy Rights)

Mortgage Breach of Contsact 18 US Code p1a5e
Obstrietion of Justice (UG USA. See lSol~ 1517

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as

|, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) — Recovery of Money/Property
11-Recovery of money/property - $542 eumover of properly
O 12-Recovery of maney/property - $547 preference
4 13-Recovery of money/property - $548 fraudulent transfer
14-Recovery of money/property ~ other

FRBP 7001(2) — Validity, Priority or Extent of Lien
21-Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001{4) — Gbjection/Revoeation of Discharge
CF at -Objection / revocation of discharge - §727(c),(d),(e)

FRBP 7005(5) — Revocation of Confirmation
51-Revocation of confirmation

FRBP 7001(6) — Dischargeability
C4 66-Dischargeability - §523(a)(1),(14),C144) priority tax claims
62-Dischargeability - §523(a)(2), false pretenses, false representation,
actual fraud
A 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next column)

FRBP 7001(6) — Dischargeability (continued)

C] 61 -Dischargeability - $523(a}(5}, domestic support

O 68-Dischargeability - §523(a}(6}, willful and malicious injury

63-Dischargeability - §523(a}(8}, student loan

C] 64-Dischargeability - §523(a})(15), divorce or separation obligation
(other than domestic support}

[s] 65-Dischargeability - other

FRBP 7004(7) — Injunctive Relief
71-Injunctive relief — imposition of stay
72-Injunetive relief — other

FRBP 7001{8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001010) Determination of Remeved Action
Gf-Determination of removed claim or cause

Other
EJ ss-sipA Case — 15 U.S.C. §$78aaa et.seq.
02-Other (e.g. other actions that would have been brought in state court

ifunrclated to bankruptcy case)

O Check if this case involves a substantive issue of state law

O Check if this is asserted to be a class action under FRCP 23

@ Check if jury trial is demanded in complaint

Demand $ 5 COO, GC

Other Relief Sought

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B1640 (FORM 1040) (12/15)

BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASE NO.
GEORGE ASiEDY 20-\3842
DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE
NoajHern DisyRicy OF ILLINoSs EASTERN Moly A Barnes
RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE
SIGNATURE OF ATTORNEY (OR PLAINTIFF)
DATE PRINT NAME OF ATTORNEY (OR PLAINTIFF)

4 /1F/2020 GiorGe ATSIEDU

INSTRUCTIONS

The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
Case Filing system (CM/ECF}. (CM/ECF captures the information on Form 1040 as part of the filing process.) When
completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
information to process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint,
Attorneys, Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

